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EXHIBIT 1
Case @RANBRIGWSE¢HDOLSVIKM ECF - OFFIC :
2.0. BOX 801 BLOOMFIELD HILLS, MICHIGAN NO aot’ Pag OT Ra. 4% Qai37/11 Page 2 of 2

(248) 645-3610 Tultion_ FFB 17 at
Student id # 2001

Enrollment Contract for 2003-2004 Schoel Year , =

Please enrot Michael Dupree, JP. a5. 2 12th grade day student in Cranbrook Schools for the 2002-2004 echool year.

4. Conditions of Enrotiment
J} understand that this contract ls for one school year onty. The decision to offer an enrolienent contnact ls made annually. The Sched!
reserves the right, at Ka 2oke discretion, to deny any student the opportunity to enrol in the School, for en upcoming acadernic year.

| specifically understand snd agree that Michel le enrolled for the ful achaol year only and that there wal be no refund of the £8 yeer'e
huildon and feet after June 30,2003, because the Schools’ expenses and obligations ere incurred on en anual basis, ‘The enrolment
deposit le non-refundable after April 10, 2003.

J also understand that there witi be no refund or reduction of the full year's tuition I Michael le diemiesed or withdraws. My obligation to
pay the full year’s tultion Is not modified or reduced by the fact that fulllon may be paid in tro or more instalments.

I spectically understand and agree that the Schools meerve the right to dismiss Michael at any time if, in the kxigment of the Schools,
Michaels heath, sforts, progress, behavior or Influence is unealisiactory or his acoours le pest dus.

| may cance! this agreement on or before June 20, 2003, by submiting writion nowicadon tp the Admission Offios, and in auch an event |
wil be relieved of Rability for peyment of full tution and fees.

| understand that | wil be reeponsible for, and pay, wll cheeges for Micheal when due, | acknowledge receipt of 8 schedule of the Schocle
tuition and fees for the 2003-2004 echool year.

| understand that Michael will be responsible for abiding by the polices and procedures stated In hia Schools’ handbook. | achnowtedge
that Michael may not be permitied to take exams at the end of s semester, may not be able to attend classes in the subsequent
semester, and no grades or transcripts will be issued if hie sccount is past due. ‘Ai the Schools’ diacrefion, past due accounts may be
referred to outside credit agencies.

2. Tultion Payment Options (choose one)
‘Tulllon for the 2003-2004 school yeer le § 19,940. .

Acne and one-half percent (1-1/2%) monthly rate late payment fee (18% on an annual besla) wili be charged to balances on
accounts which are past dus.

| understand thet F wil bo enrolled in fie Full Payment Plan cescribed below with tuldon due and payable by August 20, 2003 unless |
select the 11 or 4 Payment Plan.

JE estect the Fut Peyrvent Pian with fl tulion dus and payable by August 20, 2008. Discounts are included in early cash payments -
‘25 cullined in the separste payment pian document.

Iwill make payment by: (circle one} April 20, 2003

CF | aetect the 14 Payment Plan which requires participation in the FACTS Tutvon Management Program and In the Tultion Peefunc
Program. | understand thet Cranbrook Schools reserves the right to require, to Ha sole satisfaction, dernonsirated proot of oredit
worthiness. Falure to meat payment schedule may result i an outside credit check. Tunderstend thet | wil make 41 payments
beginning Juty 2003 and ending May 2004, ‘This plan Inchudes a finance charge of 9 2% (expressed as an annual percentage rats}
which accrues on the deferred arrount. Lagree to complete a payment agreement with FACTS Management Company.

Oo | select the 4 Payment Plan which requires participation In the FACTS Tultion Management Program and in the Tulton Resund
Program. T understand that Cranbrook Schools reserves the right to require, to Ite sole eatistection, demnonstrated proof of credit
worthiness, Fallure io meat payment schedule may result in an outside credit check, bunderstand that Iwill make 4 payments July
2003, October 2003, January 2004, March 2004. ‘This plan Includes 2 finance charge of 9 3% {expressed as an annual percerdlye
wae) which accrues on tha deferred amount. | agree to complete @ payment agreement with FACTS Management Comper:

3. Tultion Refund Program
Ir view of my obligation, pay the ful yew's tutton and other charges, the Tuitlon Refund Progrem fe offered to me se 3 perked Brent
Froforbon should Michel be withdrawn from school for any reason, subject to certain condidons a described in Ye encioead brocourn. |
olmestond that 1 select the 11 of 4 Payment Pian aa described ebove, | must participate in the Tullon Retund Program. The coat of

oO have read the enciosed Tuition Refund Program brochure, and I wish to perticipete In the Tultion Refund Pian. tauthoras
the School to credit to my child's account ary payment to which | am entitled under this plan.

4, Miscellaneous Charges
| authorize Michael to charge the purchase of books and supplies, attietic equi ment, el, to hie account throughout the yeer- Monily
statements wit be Issued, and all charges are due within 30 days. Aone and one-half percent (1-1/2%) monthly late payment fee (18%
on an annual basis} will be charged ip accounts on belanoss which gre past due. Any chld’s monthly eccount which ls 30 days or mors
pest due may have his or her charge privieges withdrn untk his or her account le paid in fall L understand that these changes may
include tickets issued by Cranbrook Public Satety.

5: Medical insurance .
jundorstand that | em required to compile the Proof of Medical Insurance form thet | wil recsive along with other medical forme far Tay
chikd, eeaerstond that #1 do not show proof of outside medical insurance or I | fail to return this informetion by Augsast 20, 2003, | wit
be charged $45 for an scciderd insurance policy. This amount is

6. Enroliment Deposit
tam enclosing a depoelt of $ 500 with this Enrolment Agreement. ‘This agreement shell be governed by and construed In
accordance with the laws of the State of Michigan. | nave read this Enrollment Agreement carefully and have reviewed the schedule of

tuition aad fess and agree to afl of ite terme.

Signature of Parent, Guardian, gf Trustee Responsible for Payment of Tuition Printed Narme

2-8-3 Alete Ut SBOF
Date Parent Social Security Number
Of applicable)
cease relum Ge Cony ol this contract with your § 800 deposit check to Cranbrook Schools, PO Box 801, Bloomfield Hit, Mil
48303-0001, and retain one copy for your records,

